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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


SVITLANA DOE, et al.,                                 )
                                                      )
       Plaintiffs,                                    )       Civil Action No.
                                                      )
       v.                                             )       1:25-cv-10495-IT
                                                      )
KRISTI NOEM, in her official capacity as              )
Secretary of Homeland Security, et al.;               )
                                                      )
       Defendants.                                    )

                              DECLARATION OF KIKA SCOTT


       I, Kika Scott, make the following declaration, as permitted by Section 1746 of Title 28 of
the United States Code. I am aware that this declaration will be filed in the above-captioned civil
action with the United States District Court for the District of Massachusetts. I hereby certify:
   1. I am the Acting Deputy Director of U.S. Citizenship and Immigration Services (USCIS),
       a component agency within the United States Department of Homeland Security (DHS). I
       have held this position since May 25, 2025. Previously I served as the senior official
       performing the duties of the USCIS director since Feb. 9, 2025. Before that, I served as
       the Chief Financial Officer (CFO) in the USCIS Office of the Chief Financial Officer
       since May 27, 2019.
   2. The statements contained in this declaration are based upon my personal knowledge and
       upon information provided to me in my official capacity.
   3. On May 28, 2025, the United States District Court for the District of Massachusetts
       issued a Memorandum and Order Granting Partial Relief on Plaintiffs’ Motion for
       Preliminary Injunction and Stay of Administrative Action. See Svitlana Doe, et al., v.
       Noem, et. al., No. 25-cv-10495 (D. Mass. May 28, 2025).
   4. Pursuant to the District Court’s May 28, 2025 order, Angelica Alfonso-Royals, Acting
       Director for USCIS issued a memorandum on June 9, 2025, with the subject line,

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   “Adjudication of Requests filed by Parolees Under Specified Parole Programs” (Alfonso-
   Royals Memo). The Alfonso-Royals Memo authorizes USCIS officers to adjudicate all
   pending benefits request filed by aliens who are or were paroled into the United States
   under Uniting for Ukraine (U4U), the parole processes for Cubans, Haitians,
   Nicaraguans, and Venezuelans (CHNV parole programs), and Family Reunification
   Parole (FRP) processes to a final agency action once USCIS has completed the additional
   vetting requirement for the parolees’ individual requests. The Alfonso-Royals Memo also
   authorizes USCIS officers to resume processing requests for re-parole and associated
   benefits for aliens paroled though a categorical parole program which were previously
   paused.
5. Adjudication of requests for initial parole and requests to be a supporter of a parolee
   under the following programs or processes remain on hold pending further review:

   x  Uniting for Ukraine (U4U)
   x  Family Reunification Parole (FRP) processes, including legacy Cuban Family
      Reunification Parole Program (CFRP) cases
   x Central American Minors (CAM) program
   x International Entrepreneur Parole
   x Parole of Western Hemisphere nationals interviewed for refugee status in Safe
      Mobility Offices (WHP).
6. The Alfonso-Royals Memo instructed that any other USCIS-wide administrative
   holds required by the Higgins or Davidson directives were no longer in effect and
   immediately lifted.
7. As of June 9, 2025, USCIS has lifted any hold on or suspension of the adjudication
   of (1) requests for re-parole and any associated benefits that may have been paused
   pursuant to the January 23, 2025 email from former Acting Director of U.S.
   Citizenship and Immigration Services, Jennifer B. Higgins; (2) requests for other
   immigration benefits filed by aliens who were paroled into the United States under
   the FRP and U4U programs as well as the CHNV parole programs, as set forth in
   the February 14, 2025 memorandum by former Acting Deputy Director of USCIS,
   Andrew Davidson, or in the Higgins email; and (3) any requests for Military Parole
   in Place and associated benefits (to the extent any individual case was held or


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   suspended).
8. Operational guidance, technical changes to USCIS systems, website virtual agent
   scripts, and other form communications necessary to execute the Alfonso-Royals
   Memo will be implemented.
9. I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing
   is true and correct to the best of my knowledge. Executed this 9th day of June,
   2025, in Camp Springs, Maryland.




                                                KIKA M SCOTT Digitally signed by KIKA M SCOTT
                                                             Date: 2025.06.09 16:24:46 -04'00'
                                                __________________________________
                                                 Kika Scott
                                                 Acting Deputy Director
                                                 U.S. Citizenship and Immigration Services
                                                 Department of Homeland Security




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